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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
ve
Crim No.: 17-232 (EGS)
MICHAEL T. FLYNN,

Defendant

 

MOTION FOR LEAVE TO FILE NOTICE
REGARDING TRANSFER OF CASE FILE TO NEW COUNSEL

Covington & Burling LLP, former counsel to Defendant Michael T. Flynn, respectfully
requests leave to file a Notice Regarding Transfer of Case File to Defendant’s New Counsel.
The proposed Notice, which is attached, provides information to the Court regarding the status of

Covington’s transfer of its file of its representation of General Flynn.

July 25, 2019 Respectfully submitted,

(AA & WA

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 25th day of July 2019, I caused the foregoing to be sent

by electronic mail and by certified mail to the following:

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